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1    MICHAEL B. BIGELOW
     Attorney at Law
2    State Bar No. 65211
     428 J Street, Suite 350
3    Sacramento, CA 95814
     Telephone: (916) 443-0217
4    Email: mbigelow6401@sbcglobal.net
5    Attorney for Defendant
     Deanna Williams
6
                     IN THE UNITED STATES DISTRICT COURT
7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,         )   Case No. Cr.S-10-00361 LKK
                                       )
10              Plaintiff,             )   ORDER RE DEANNA WILLIAMS’
                                       )   WAIVER OF PERSONAL PRESENCE
11        vs.                          )
                                       )
12                                     )
     DEANNA WILLIAMS, et al.,          )
13                                     )
                Defendant              )
14                                     )
15
          Defendant, Deanna Williams, hereby waives the right to be
16
     present in open court upon the hearing of any motion or other
17
     proceeding in this cause, including, but not limited to when the
18

19   case is ordered set for trial, when a continuance is ordered,

20   and when any other action is taken by the Court before or after

21   trial, except upon arraignment, plea, impanelment of jury and

22   imposition of sentence. Defendant Williams hereby requests the

23   Court to proceed during every absence of the defendant which the
24   Court may permit pursuant to this waiver; agrees that
25
     defendant’s interest will be deemed represented at all times by



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1    the presence of defendant’s attorney, the same as if defendant
2    were personally present; and further agrees to be present in
3
     person in court ready for trial any day and hour the Court may
4
     fix in defendant’s absence.
5
          Defendant Williams further acknowledges that she has been
6
     informed of her rights under Title 18 U.S.C. 3161-3174 of the
7
     Speedy Trial Act and authorizes her counsel to set times and
8
     delays under the Act without her being present.
9
          The original signed copy of the waiver is preserved by Ms.
10
     Williams’ attorney.
11

12

13

14   DATED: January 24, 2011          I consent to the above waiver of
                                      personal appearance.
15
                                      /s/Deanna Williams
16                                    ANJENETTE BROWN
                                      Defendant
17
     DATED: January 24, 2011          I agree to the above waiver of
18
                                      personal appearance.
19
                                      /s/Michael B. Bigelow
20                                    MICHAEL B. BIGELOW

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1         IT IS HEREBY ORDERED
2         1. That Deanna Williams’ appearance in open court is waived
3
     upon the hearing of any motion or other proceeding in this case,
4
     including, but not limited to, when the case is set for trial,
5
     when a continuance is ordered, and when any other action is
6
     taken by the court before or after trial, except upon
7
     arraignment, plea, impanelment of jury, and imposition of
8
     sentence.
9
          IT IS SO ORDERED.
10
     Date: January   27, 2011
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